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THE COMMONWEALTH oF MASSACHUSE.TTS
OFFICE oF THE ATTORNEY GENERAL

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BOSTON, MASSACl-l L\SE'[*’l‘s 02108

M.=wRA HEAI,l-:\' TEL: (617) 727-2200
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February 28, 201','r
BY HAND

Lisa Pezzarossi

Court Room Clerk

Honorable F. Dennis Saylor IV

U.S. District Court:, District of Massachusetts
John Joseph Moakley U.S. Courthouse

One Courthouse Way

Boston, MA 02210

Re: C.D. by and through her parents and next friends M.D. and P.D. and M.D. and P.D.
for themselves v. Natick Public School District, et al.
Civil Action No. 15-13617-FDS

Dear MS. Pezzarossi:

Per your request, I am enclosing a DVD of the Administrative Record in the above-
referenced matter.

Thank you for your attention to this matter.
Very truly yours,
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Iraida J. Alvarez,/
Assistant Attorney General
Govemment Bureau
(617) 963-2037

Enclosure

cc: Laurie Martucci, Esq.
Doris MacKenzie Ehrens, Esq.

